AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                          SouthernDistrict
                                                       __________ Districtofof__________
                                                                               Iowa

                   United States of America                                    )
                              v.                                               )       Case No. 4:21-mj-000120-CFB
                       Deborah Salvador                                        )
                                                                               )       Charging District: District of Columbia
                              Defendant                                        )       Charging District’s Case No. 1:21-mj-00242-GMH


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: U.S. District Court, District of Columbia                                       Courtroom No.: Via Zoom
         333 Constitution Ave., NW
         Via Zoom before Judge Robin M. Meriweather                                    Date and Time: 2/25/2021 1:00 pm EST
 NOTE: THE APPEARANCE IN THE DISTRICT OF COLUMBIA IS EASTERN STANDARD TIME.
          Subject to holding an Identity Hearing in the Southern District of Iowa, 11:45AM CST in person at the U.S.
Courthouse in Des Moines, IA. If the Identity Hearing in the Southern District of Iowa is waived, a Commitment to the
District of Columbia will be entered.

             February 19, 2021
Date:                                                                                                      Judge’s signature

                                                                                        Celeste F. Bremer, U.S. Magistrate Judge
                                                                                                        Printed name and title




 THE CLERK OF COURT SHALL PROVIDE INSTRUCTIONS FOR CONNECTING TO ZOOM TO COUNSEL
 FOR DEFENDANT.
